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AO 2458 (CASO Rev. 1/19) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                    V.                              (For Offenses Committed On or After November I, 1987)
                  KEVIN ALEXIS BRITO (1)
                                                                       Case Number:        3:20-CR-01479-DMS

                                                                    George Gedulin
                                                                    Defendant's Attorney
USM Number                          93176-298

• -
THE DEFENDANT:
IZI pleaded guilty to count(s)            One and Two of the Superseding Information

D     was found guilty on count(s)
      after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):


Title and Section / Nature of Offense                                                                                     Count
18:2422(b); 18:2428 - Enticement Of A Minor; Forfeiture                                                                     ls
18:2422(b); 18:2428 - Enticement Of A Minor; Forfeiture                                                                    2s




     The defendant is sentenced as provided in pages 2 through             of this judgment.
                                                                    ------
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
                                                                       6


D     The defendant has been found not guilty on count(s)

IZI Count(s) Remaining in underlying information              are         dismissed on the motion of the United States.

[ZI   Assessment: $200.00 Total


D     JVTA Assessment*:$

      *Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
IZI   No fine                   IZI Forfeiture pursuant to order filed          7/26/2021                     , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    October 20 2021



                                                                    UNITED STATES DISTRICT JUDGE
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AO 245B (CASO Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                 KEVIN ALEXIS BRITO (1)                                                  Judgment - Page 2 of 6
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                                                   IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 180 months as to each counts 1 and 2 to serve concurrently to one another.




 •      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 [;gj   The court makes the following recommendations to the Bureau of Prisons:
        Defendant to serve his custodial term at a facility that offers sex offender management, FCI Peterburg
        Virginia.




 •      The defendant is remanded to the custody of the United States Marshal.

 •      The defendant must surrender to the United States Marshal for this district:
        •     at                            A.M.              on
                                                                   -------------------
        •     as notified by the United States Marshal.

        The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •      Prisons:
        •     on or before
        •     as notified by the United States Marshal.
        •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                            to

 at - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL



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                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
Fifteen ( 15) years as to each counts I and 2 to serve concurrently to one another.

                                              MANDATORY CONDITIONS
I . The defendant must not commit another federal , state or local crime.
2. The defendant must not unlawfully possess a controlled substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
    controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
    two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
    than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
          • The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
             risk of future substance abuse. (check if applicable)
4.    • The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
     a sentence of restitution. (check if applicable)
5.   IZIThe defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    • The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S .C. §
     20901 , et seq .) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
     the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. ( check if
     applicable)
7.   • The defendant must participate in an approved program for domestic violence. (check if applicable)
The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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                                      STANDARD CONDITIONS OF SUPERVISION
As part of the defendant's supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant's behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant' s conduct and condition.

I . The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
    hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
    office or within a different time frame .

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
   as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
   anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
   probation officer at least IO days before the change. If notifying the probation officer in advance is not possible due to
   unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
   expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
   p~rmit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
   time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
   defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
   due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
   change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
   knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
   first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

IO. The defendant must not own, possess, or have access to a firearm , ammunition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
    as nunchakus or tasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
    officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
    The probation officer may contact the person and confirm that the defendant notified the person about the risk.

13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.



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                               SPECIAL CONDITIONS OF SUPERVISION

   1. Participate in a program of mental health treatment as directed by the probation officer, take all medications
      as prescribed by a psychiatrist/physician, and not discontinue any medication without permission. The
      court authorizes the release of the presentence report and available psychological evaluations to the mental
      health provider, as approved by the probation officer. Allow for reciprocal release of information between
      the probation officer and the treatment provider. May be required to contribute to the costs of services
      rendered in an amount to be determined by the probation officer, based on ability to pay.


   2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


   3. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to
      120 days (non-punitive).


   4. Submit your person, property, residence, abode, vehicle, papers, computer, social media accounts,
      any other electronic communications or data storage devices or media, and effects to search at any time,
      with or without a warrant, by any law enforcement or probation officer with reasonable suspicion
      concerning a violation of a condition of probation/supervised release or unlawful conduct, and
      otherwise in the lawful discharge of the officer' s duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).
      Failure to submit to a search may be grounds for revocation; you must warn any other residents that the
      premises may be subject to searches pursuant to this condition.


   5. Consent to third party disclosure to any employer, potential employer, concerning any restrictions that
      are imposed by the court.


   6. Not use or possess any computer, computer-related devices (pursuant to 18 U.S.C.§ 1030(e)(l)), which
      can communicate data via modem, dedicated connections or cellular networks, and their peripheral
      equipment, without prior approval by the court or probation officer, all of which are subject to search and
      seizure. The offender must consent to installation of monitoring software and/or hardware on any
      computer or computer-related devices owned or controlled by the offender that will enable the probation
      officer to monitor all computer use and cellular data. The offender must pay for the cost of installation of
      the computer software.


   7. Not associate with, or have any contact with, any known sex offenders unless in an approved treatment
      and/or counseling setting.

   8. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
      material, or through any third-party communication, with the victim or victim' s family, without prior
      approval of the probation officer.

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     9. Not initiate any contact (personal, electronic or otherwise) or associate with anyone under the age of 18,
        unless in the presence of a supervising adult who is aware of the offender's deviant sexual behavior and
        nature of offense and conviction, with the exception of the offender's biological children, unless approved
        in advance by the probation officer.


     10. Not accept or commence employment or volunteer activity without prior approval of the probation
         officer, and employment should be subject to continuous review and assessment by the probation
         officer.


     11. Not loiter within 200 yards of a school, schoolyard, playground, park, amusement center/park, public
         swimming pool, arcade, daycare center, carnival, recreation venue, library and other places primarily
         frequented by persons under the age of 18, without prior approval of the probation officer.


     12. Not possess or view any materials such as videos, magazines, photographs, computer images or other
         matter that depicts "sexually explicit conduct" involving children as defined by 18 USC§ 2256(2) and/or
         "actual sexually explicit conduct" involving adults as defined by 18 USC § 2257(h)(l ), and not patronize
         any place where such materials or entertainment are the primary material or entertainment available.


     13. Complete a sex offender evaluation, which may include periodic psychological, physiological testing,
         and completion of a visual reaction time (VRT) assessment, at the direction of the court or probation
         officer. If deemed necessary by the treatment provider, the offender shall participate and successfully
         complete an approved state- certified sex offender treatment program, including compliance with
         treatment requirements of the program. The Court authorizes the release of the presentence report,
         and available psychological evaluations to the treatment provider, as approved by the probation officer.
         The offender will allow reciprocal release of information between the probation officer and the
         treatment provider. The offender may also be required to contribute to the costs of services rendered
         in an amount to be determined by the probation officer, based on ability to pay. Polygraph examinations
         may be used following completion of the formal treatment program as directed by the probation
         officer in order to monitor adherence to the goals and objectives of treatment and as a part of the
         containment model.


     14. Reside in a residence approved in advance by the probation officer, and any changes in residence shall be
         pre-approved by the probation officer.


II


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